Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 1 of 25 PageID #: 82
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 2 of 25 PageID #: 83
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 3 of 25 PageID #: 84
     UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                   TENNESSEE, AT CHATTANOOGA

ANTHONY YOUNG and
MARY YOUNG,

      Plaintiffs,
v.                                           Case No. 1:18-cv-00147-PLR-SKL

                                                          JURY DEMANDED
GLM TRANSPORT, INC. and
EDWARD J. BROWN,
      Defendants.
_____________________________________/


                    AFFIDAVIT OF RECORDS CUSTODIAN

STATE OF ___________________ )

COUNTY OF _________________ )

Comes now the Affiant, ________________________, and, after being duly sworn
according to law, makes oath upon his or her personal knowledge as follows:

1.    I am over the age of 18 and competent to testify as to the matters contained
 herein.
2.    I am an authorized records custodian of the records attached hereto on behalf
of __________________________________.
3.    I swear and affirm that the attached records are authentic to the best of my
knowledge, information and belief; are all of the records pertaining to EDWARD J.
BROWN and kept in the ordinary course of business of __________________________.
4.    I swear and affirm that all records that were able to be located have been
 produced and are attached hereto.
5.    I swear and affirm that the attached records were made at or near the time of
 the occurrence of the matter set forth, or from information transmitted by a person
 with knowledge of and a business duty to record or transmit those matters and were



                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 4 of 25 PageID #: 85
 kept in the course of the regularly conducted activity and were made by the regular
 activity as a regular practice.
FURTHER AFFIANT SAITH NOT.


                                             Signature of Custodian


                                             ________________________
                                             Printed Name of Custodian

                                   VERIFICATION

Personally appeared before me, __________________________, with whom I am
personally acquainted, or who was proved to me through satisfactory evidence, and
who acknowledged that he/she executed the above affidavit for the purposes therein
contained.
This, the    day of                  , 2018.

_____________________________
Notary Public

My commission expires:




                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 5 of 25 PageID #: 86
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 6 of 25 PageID #: 87
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 7 of 25 PageID #: 88
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 8 of 25 PageID #: 89
     UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                   TENNESSEE, AT CHATTANOOGA

ANTHONY YOUNG and
MARY YOUNG,

      Plaintiffs,
v.                                           Case No. 1:18-cv-00147-PLR-SKL

                                                          JURY DEMANDED
GLM TRANSPORT, INC. and
EDWARD J. BROWN,
      Defendants.
_____________________________________/


                    AFFIDAVIT OF RECORDS CUSTODIAN

STATE OF ___________________ )

COUNTY OF _________________ )

Comes now the Affiant, ________________________, and, after being duly sworn
according to law, makes oath upon his or her personal knowledge as follows:

1.    I am over the age of 18 and competent to testify as to the matters contained
 herein.
2.    I am an authorized records custodian of the records attached hereto on behalf
of __________________________________.
3.    I swear and affirm that the attached records are authentic to the best of my
knowledge, information and belief; are all of the records pertaining to EDWARD J.
BROWN and kept in the ordinary course of business of __________________________.
4.    I swear and affirm that all records that were able to be located have been
 produced and are attached hereto.
5.    I swear and affirm that the attached records were made at or near the time of
 the occurrence of the matter set forth, or from information transmitted by a person
 with knowledge of and a business duty to record or transmit those matters and were



                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 9 of 25 PageID #: 90
 kept in the course of the regularly conducted activity and were made by the regular
 activity as a regular practice.
FURTHER AFFIANT SAITH NOT.


                                             Signature of Custodian


                                             ________________________
                                             Printed Name of Custodian

                                   VERIFICATION

Personally appeared before me, __________________________, with whom I am
personally acquainted, or who was proved to me through satisfactory evidence, and
who acknowledged that he/she executed the above affidavit for the purposes therein
contained.
This, the    day of                  , 2018.

_____________________________
Notary Public

My commission expires:




                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 10 of 25 PageID #: 91
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 11 of 25 PageID #: 92
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 12 of 25 PageID #: 93
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 13 of 25 PageID #: 94
      UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                    TENNESSEE, AT CHATTANOOGA

ANTHONY YOUNG and
MARY YOUNG,

       Plaintiffs,
v.                                           Case No. 1:18-cv-00147-PLR-SKL

                                                          JURY DEMANDED
GLM TRANSPORT, INC. and
EDWARD J. BROWN,
      Defendants.
_____________________________________/


                     AFFIDAVIT OF RECORDS CUSTODIAN

STATE OF ___________________ )

COUNTY OF _________________ )

Comes now the Affiant, ________________________, and, after being duly sworn
according to law, makes oath upon his or her personal knowledge as follows:

 1.    I am over the age of 18 and competent to testify as to the matters contained
 herein.
 2.    I am an authorized records custodian of the records attached hereto on behalf
 of __________________________________.
 3.    I swear and affirm that the attached records are authentic to the best of my
 knowledge, information and belief; are all of the records pertaining to EDWARD J.
 BROWN and kept in the ordinary course of business of __________________________.
 4.    I swear and affirm that all records that were able to be located have been
 produced and are attached hereto.
 5.    I swear and affirm that the attached records were made at or near the time of
 the occurrence of the matter set forth, or from information transmitted by a person
 with knowledge of and a business duty to record or transmit those matters and were



                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 14 of 25 PageID #: 95
 kept in the course of the regularly conducted activity and were made by the regular
 activity as a regular practice.
FURTHER AFFIANT SAITH NOT.


                                             Signature of Custodian


                                             ________________________
                                             Printed Name of Custodian

                                   VERIFICATION

Personally appeared before me, __________________________, with whom I am
personally acquainted, or who was proved to me through satisfactory evidence, and
who acknowledged that he/she executed the above affidavit for the purposes therein
contained.
This, the    day of                  , 2018.

_____________________________
Notary Public

My commission expires:




                                 EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 15 of 25 PageID #: 96
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 16 of 25 PageID #: 97
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 17 of 25 PageID #: 98
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 18 of 25 PageID #: 99
       UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                     TENNESSEE, AT CHATTANOOGA

 ANTHONY YOUNG and
 MARY YOUNG,

        Plaintiffs,
 v.                                           Case No. 1:18-cv-00147-PLR-SKL

                                                           JURY DEMANDED
 GLM TRANSPORT, INC. and
 EDWARD J. BROWN,
       Defendants.
 _____________________________________/


                      AFFIDAVIT OF RECORDS CUSTODIAN

 STATE OF ___________________ )

 COUNTY OF _________________ )

 Comes now the Affiant, ________________________, and, after being duly sworn
 according to law, makes oath upon his or her personal knowledge as follows:

  1.    I am over the age of 18 and competent to testify as to the matters contained
  herein.
  2.    I am an authorized records custodian of the records attached hereto on behalf
  of __________________________________.
  3.    I swear and affirm that the attached records are authentic to the best of my
  knowledge, information and belief; are all of the records pertaining to EDWARD J.
  BROWN and kept in the ordinary course of business of __________________________.
  4.    I swear and affirm that all records that were able to be located have been
  produced and are attached hereto.
  5.    I swear and affirm that the attached records were made at or near the time of
  the occurrence of the matter set forth, or from information transmitted by a person
  with knowledge of and a business duty to record or transmit those matters and were



                                  EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 19 of 25 PageID #: 100
  kept in the course of the regularly conducted activity and were made by the regular
  activity as a regular practice.
 FURTHER AFFIANT SAITH NOT.


                                              Signature of Custodian


                                              ________________________
                                              Printed Name of Custodian

                                    VERIFICATION

 Personally appeared before me, __________________________, with whom I am
 personally acquainted, or who was proved to me through satisfactory evidence, and
 who acknowledged that he/she executed the above affidavit for the purposes therein
 contained.
 This, the    day of                  , 2018.

 _____________________________
 Notary Public

 My commission expires:




                                  EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 20 of 25 PageID #: 101
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 21 of 25 PageID #: 102
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 22 of 25 PageID #: 103
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 23 of 25 PageID #: 104
       UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
                     TENNESSEE, AT CHATTANOOGA

 ANTHONY YOUNG and
 MARY YOUNG,

        Plaintiffs,
 v.                                           Case No. 1:18-cv-00147-PLR-SKL

                                                           JURY DEMANDED
 GLM TRANSPORT, INC. and
 EDWARD J. BROWN,
       Defendants.
 _____________________________________/


                      AFFIDAVIT OF RECORDS CUSTODIAN

 STATE OF ___________________ )

 COUNTY OF _________________ )

 Comes now the Affiant, ________________________, and, after being duly sworn
 according to law, makes oath upon his or her personal knowledge as follows:

  1.    I am over the age of 18 and competent to testify as to the matters contained
  herein.
  2.    I am an authorized records custodian of the records attached hereto on behalf
  of __________________________________.
  3.    I swear and affirm that the attached records are authentic to the best of my
  knowledge, information and belief; are all of the records pertaining to EDWARD J.
  BROWN and kept in the ordinary course of business of __________________________.
  4.    I swear and affirm that all records that were able to be located have been
  produced and are attached hereto.
  5.    I swear and affirm that the attached records were made at or near the time of
  the occurrence of the matter set forth, or from information transmitted by a person
  with knowledge of and a business duty to record or transmit those matters and were



                                  EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 24 of 25 PageID #: 105
  kept in the course of the regularly conducted activity and were made by the regular
  activity as a regular practice.
 FURTHER AFFIANT SAITH NOT.


                                              Signature of Custodian


                                              ________________________
                                              Printed Name of Custodian

                                    VERIFICATION

 Personally appeared before me, __________________________, with whom I am
 personally acquainted, or who was proved to me through satisfactory evidence, and
 who acknowledged that he/she executed the above affidavit for the purposes therein
 contained.
 This, the    day of                  , 2018.

 _____________________________
 Notary Public

 My commission expires:




                                  EXHIBIT “A”
Case 1:18-cv-00147-SKL Document 27-1 Filed 11/19/18 Page 25 of 25 PageID #: 106
